                                              FELICIA PITRE, DISTRICT CLERK
        Case 3:18-cv-00282-L Document 4 Filed 02/12/18                          Page 1 of 57 PageID 12
                                                DOCKET SHEET
                                               CASE No. DC-17-17363
 GLORIA MACHADO, et al                                         §                   Location: 14th District Court
 vs.                                                           §            Judicial Officer: MOYE', ERIC
 XPEDITE LOGISTICS, LLC, et al                                 §                    Filed on: 12/19/2017
                                                               §

                                                    CASE INFOIUIATI0:-.1


Statistical Closures                                                                       MOTOR VEHICLE
02/02/2018      ALL OTHER DI SPOSITIONS                                         Case Type: ACCIDENT


    DATE                                            CASE A SS IG"i\IEi\T


                Current Case Assignment
                Case Number                     DC-17-17363
                Court                           14th District Court
                Date Assigned                   12/ 19/2017
                Judicial Officer                MOVE', ERIC




                                                   PARTY 1:\FOR:\'JATIOi\
                                                                                                 Lead Attorneys
PLAINTIFF          AMAYA, MANLIO                                                             HORNUNG, PAUL ROBERT
                     INDIVID UALLY, AS PERSOMAL REPRESENTATIVE OF THE                                           Retained
                     ESTATE OF IV AN A. AMAYA, DECEASED                                                2 14-94 1-8300(W)
                                                                                                 dallasoffice@dgley .com


                   MACHADO, ANTHONY T.                                                       HORNUNG, PAUL ROBERT
                                                                                                               Retained
                                                                                                       214-941-8300(W)
                                                                                                 dallasoffice@dgley .com


                   MACHADO, GLORIA                                                          HORNUNG, PAUL ROBERT
                    AS NEXT OF FRIENDS OF ANTHONY MACHADO                                                     Retained
                                                                                                      214-941-8300(W)
                                                                                                dallasoffice@dgley.com


DEFENDANT          BEASLEY, RONALD ANTHONY
                     747 N. MOCASSIN STREET
                     SA PULA , OK 74055

                   CRETE CARRIER CORPORATION                                                      MAYFIELD, JORDAN
                     DOING BUSINESS AS SHAFFER TRUCKING                                                        Retained
                     I999 BRYAN STREET                                                                  254-755-4100(W)
                     SUITE 900                                                                 mayfield@namanhowell.com
                     DALLAS, TX 7520I

                   ELY, JAMES, Jr.
                     5656 BUELL STREET                                                                                  ProSe
                     TALBOTT, TN 37877

                   XPEDITE LOGISTICS, LLC
                     321 NOLAN STREET
                     SAN ANTONIO, TX 78202 ·

    DATE                                  EVE NTS & ORD ERS OF TH E CO URT                                  I:\' DE\:

              Payment Receipt # 82094-2017-       PLAINTIFF MACHADO, GLORIA                 (332.00)
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                                                         PAGE I OF 3                                    Printed on 0210812018 at 10:47 AM
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         Case 3:18-cv-00282-L Document 4 Filed 02/12/18                              Page 2 of 57 PageID 13
                                               DOCKET SHEET
                                               CASE NO. DC-17-17363
               Charge    ISSUE CIT-SOS, COl,     PLAINTIFF MACHADO, GLORIA                   332.00
                         COH,HAGUE

12/ 19/2017    NEW CASE FILED (OCA)- CIVIL


12/19/2017      'moRIGlNALPETITION

12/19/2017     ISSUE CITATION
                  £SERVE

12/ 19/2017    ISSU E CITATION COMM OF INS OR SOS
                  £SERVE

12/22/2017     CITATION SOS/COI/COH/HAG
               BEASLEY, RONALD ANTHONY
               Unserved
               £SERVE S.M.

12/22/2017     CITATION SOS/COI/COH/HAG
               ELY, JAM ES, Jr.
                Unserved
               £SERVE S.M.

12/22/2017     CITATION
               XPEDITE LOGISTICS, LLC
               Unserved
               £SERVE S.M.

12/22/2017     CITATION
                /filCRETE CARRIER CORPORATION
               Served: 01/11 /2018
               ESERVES.Atl.


12/22/2017     ~C ITATION ISSUED

01112/2018     ~RETURN OF SERVICE
                  CRETE CARRIER CORPORATION


01 / 18/2018   ~NOTICE OF DISMISSAL FOR WANT OF PROSECUTION
                  MA IL ED


02/02/2018     ~NOTICE OF REMOVAL TO FEDERAL COURT
                  DEFT

02/02/2018                                                                                             Vol./Book 000,
               ~ALL OTHER DISPOSITIONS (Judicial Officer: MOYE', ERIC)                                Page 00, I I pages


02/23/2018      QJ CANCELED DISMISSAL FOR WANT OF PROSECUTION (II :00 AM) (Judicial
               Officer: MOYE', ERIC)
                  CASE CLOSED
   DATE                                             Fl:\'A:\Cir\ L I :\FOIUIATIO:\


                PLAINTIFF MACHADO, GLORIA
                Total Charges                                                                                    332.00
                Total Payments and Credits                                                                       332.00
                Balance Due as of 2/8/2018                                                                         0.00




                                                     PAGE 2 OF 3                                      Printed on 02108/2018 at/0:47 AM
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Case 3:18-cv-00282-L Document 4 Filed 02/12/18          Page 3 of 57 PageID 14
                          DOCKET SHEET
                         CASE No. DC-17-17363




                                 PAGE 3 OF 3                          Printed on 0210812018 at 10:47 AM
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                      Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                           Page 5 of 57 PageID 16




FORM NO. 353-3 - CITATION                                                                                                                               ESERVE
THE STATE OF TEXAS                                                                                                                                   CITATION
To:    XPEDITE LOGISTICS, LLC
       BY SERVING ITS REGISTERED AGENT, LUCY D. SHAW
                                                                                                                                                    DC-17-17363
       321 NOLAN STREET
       SAN ANTONIO, TEXAS 78202
                                                                                                                                               GLORIA MACHADO, et al
GREETINGS:
You have been sued. You may employ an attorney. If you or your attorney do not file a written                                                           vs.
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the                                           XPEDITE LOGISTICS, LLC, et al
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 14th District Court at 600
Commerce Street, Ste. 101 , Dallas, Texas 75202.                                                                                                     ISSUED THIS
                                                                                                                                               22nd day of December, 2017
Said Plaintiff being GLORIA MACHADO, ET AL
                                                                                                                                                   FELICIA PITRE
Filed in said Court 19th day of December, 2017 against                                                                                           Clerk District Courts,
                                                                                                                                                 Dallas County, Texas
XPEDITE LOGISTICS, LLC, ET AL

For Suit, said suit being numbered DC-17-17363, the nature of which demand is as follows:                                                   By: SPRINGE MCKINLEY, Deputy
Suit on MOTOR VEHICLE ACCIDENT etc. as shown on said petition, a copy of which accompanies
this citation. If this citation is not served, it shall be returned unexecuted.                                                                  Attorney for Plaintiff
                                                                                                                                                 GARCIA A. DOMINGO
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                                     dallasoffice@ dgley .com
Given under my hand and the Seal of said Court at office this 22nd day of December, 2017.                                                          400 S. ZANG BLVD.
                                                                                                                                                 DALLAS, TEXAS 75208
                                                                                                      ,,,o\\lllltt1111
                                                                                                                                                       214-941-8300
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas ~'~'<( ~~~fll./'"'~

                        By
                             /s/ Springe McKinley
                                                                     , Deputy   g.§"~..
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                                                                                                                                               NOT PAID
                            Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                        Page 6 of 57 PageID 17




                                                                        OFFICER'S RETURN
Case No.: DC-17-17363

Court No.l4th District Court

Style: GLORIA MACHADO, et al

vs.

XPEDITE LOGISTICS, LLC, et al

Came to hand on the                        day of                       , 20           , at             o'clock            .M. Executed at - - - - - - - - - - - - - -•
within the County of                                    at                o'clock _ _ _ .M. on the                         day of_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ .

20                     , by delivering to the within named




each, in pers0n, a true copy of this Citation together with the accompanyin g copy of this pleading, having tirst endorsed on same date of delivery. The di stance actually traveled by

me in serving such process was                miles and my fees are as follows : To certify which witness my hand.



                                For serving Citation          $._ __

                                For mileage                    $ _ __                         of                      County, _ _ _ _ _ _ __

                                 For Notary                    $._ __                         By                                                Deputy

                                                                (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said                                   before me this _ _ _clay of                              , 20_ _ _ ,

to certify which witness my hand and seal of oftice.




                                                                                              Notary Public                       County_ _ _ _ _ _ __
Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                    Page 7 of 57 PageID 18




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                      Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                      Page 8 of 57 PageID 19




FORM NO. 353-3 - CITATION                                                                                                                            ESERVE
THE STATE OF TEXAS                                                                                                                                CITATION
To:    CRETE CARRIER CORPORATION D/B/A SHAFFER TRUCKING
       BY SERVING ITS REGISTERED AGENTS, NATIONAL REGISTERED AGENTS, INC.
                                                                                                                                                 DC-17 -17363
       1999 BRYAN STREET, SUITE 900
       DALLAS, TEXAS
                                                                                                                                            GLORIA MACHADO, et al
GREETINGS:
You have been sued. You may employ an attorney. If you or your attorney do not file a written                                                         vs.
                                                                                                                                          XPEDITE LOGISTICS, LLC, et al
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 14th District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                                                   ISSUED THIS
                                                                                                                                            22nd day of December, 2017
Said Plaintiff being GLORIA MACHADO, ET AL
                                                                                                                                                FELICIA PITRE
Filed in said Coutt 19th day of December, 2017 against                                                                                        Clerk District Courts,
                                                                                                                                              Dallas County, Texas
XPEDITE LOGISTICS, LLC, ET AL

For Suit, said suit being numbered DC-17-17363, the nature of which demand is as follows:                                                By: SPRINGE MCKINLEY, Deputy
Suit on MOTOR VEHICLE ACCIDENT etc. as shown on said petition, a copy of which accompanies
this citation. If this citation is not served, it shall be returned unexecuted.                                                               Attorney for Plaintiff
                                                                                                                                              GARCIA A. DOMINGO
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                                 dallasoffice@ dgley. com
Given under my hand and the Seal of said Court at office this 22nd day of December, 2017.                                                      400 S. ZANG BLVD.
                                                                                                                                              DALLAS, TEXAS 75208
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas               \'i\.\\U 11Ut~t1                                        214-941-8300
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                         Is/ Springe McKinley                                          #  ~' .~~)4;r                     '%.
                   By                                            , Deputy      s-~...._ ....
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                           Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                         Page 9 of 57 PageID 20




                                                                        OFFICER'S RETURN
Case No.: DC-17-17363

Court No.l4th District Court

Style: GLORIA MACHADO, et al

vs.

XPEDITE LOGISTICS , LLC, et al

Came to hand on the                        day of                       , 20           , at             o'clock            .M. Executed at _ _ _ __ _ _ __ _ __ _ _,

within the County of                                    at                o'clock _ _ _ .M. on the                         day of_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

20                     , by delivering to the within named




each, in person, a true copy of this Citation together with the acco mpanying copy of this pleading, having first endorsed on same date of del ivery. The distance actually traveled by

me in serving such process was                miles and my fees are as follow s: To certify which witness my hand.



                                For serving Citation          $ _ __

                                For mileage                    $ _ __                         of                      County, _ _ _ _ _ _ __

                                 For Notary                    $_ _ _                         By                                                Deputy

                                                                (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said                                   before me thi s_ _ _day of                               , 20 _ _ _ ,

to certify which witness my hand and seal of office.




                                                                                              Notary Public                       County_ _ _ _ _ _ __
Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                     Page 10 of 57 PageID 21




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                                               Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                       Page 11 of 57 PageID 22



    FORM NO. 353-4-CITATION                                                                                                                              ESERVE COl
    'T'UE' I::''T' A 'T'E' AE' 'T'E'V A 1::'



    To:     RONALD ANTHONY BEASLEY                                                                                                                                CITATION
            BY SERVING THE CHAIRMAN OF STATE HIGHWAY AND
            PUBLIC TRANSPORTATION COMMISSION
            1225 E. 11TH STREET                                                                                                                C--       --No~nC-i7-ii363    ·- - -   -   -- ~

            AUSTIN, TX, 78701
    GREETINGS:                                                                                                                                         GLORIA MACHADO, et al
    You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the                                                vs.
    clerk who issued this citation by 10 o'clock a.m. of the Monday next following the expiration of twenty days after you                           XPEDTTE LOGISTICS, LLC, et al
    were served this citation and XPEDITE LOGISTICS, LLC; CRETE CARRIER CORPORATION; RONALD                                                         XPEDITE LOGISTICS, LLC; CRETE
    ANTHONY BEASLEY; JAMES ELY, Jr. petition, a default judgment may be taken against you.                                                         CARRIER CORPORATION; RONALD
     Your answer should be addressed to the clerk of the 14th District Court                                                                       ANTHONY BEASLEY; JAMES ELY, Jr.
    al 600 Commerce Street, Dallas, Texas 75202.
                                                                                                                                                                 ISSUED
      Said PLAINTIFF being GLORIA MACHADO, ET AL                                                                                                        ON THIS THE 22ND DAY OF
                                                                                                                                                            DECEMBER, 2017
    Filed in said Court 19th day of December, 2017 against
     XPEDITE LOGISTICS, LLC, ET AL
                                                                                                                                                FELICIA PITRE
     For suit, said suit being numbered DC-17-17363 the nature of which demand is as follows:                                                   Clerk District Courts,
     Suit On MOTOR VEHICLE ACCIDENT etc.                                                                                                        Dallas County, Texas
    as shown on said petition        , a copy of which accompanies this citation. If this citation is not served, it shall be
    returned unexecuted.                                                                                                                         By SPRINGE MCKINLEY, Deputy
    WITNESS : FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
     Given under my hand and the Seal of said Court at office on this the 22nd day of December, 2017                                            Attorney for : Plaintiff
    ATTEST: FELICIA PITRE                                                                               \\\\U lllttl(                            DOMINGO A. GARCIA
    Clerk of the District Courts of Dallas, County, Texas
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                              By              /s/ Springe McKinley         , D epu t y    ~.$......,
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                                    Case 3:18-cv-00282-L Document 4 Filed 02/12/18                           Page 12 of 57 PageID 23



                                                                              OFFICER'S RETURN
                                                                              FOR INDIVIDUALS
Cause No. DC-17 -17363
Court No: 14th District Court
Style: GLORIA MACHADO, et al
vs.
XPEDITE LOGISTICS, LLC, et al
         Received this Citation the               day of                    , 20_ _at                 o'clock. Executed at                     , within the County of
- - - - - - - - - - - - - - - - - ' S t a t e of                              , on the              day of                     , 20_ _, at          o'clock, by
delivering to the within named                                                            each in person, a copy of this Citation together with the accompanying copy of
Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                              ----------000000----------
                                                                               OFFICER'S RETURN
                                                                              FOR CORPORATIONS
Received this Citation the        day of                            , 20_ _at                 o'clock _.M. Executed at                        , within the County of
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ,State of                                           , on the              day of                   , 20_ _ , at              o'clock     .M.
by summoning the within named Corporation,                                     by delivering to - - - - - - - - - - - - - - - - -
                                                                                        President - Vice President - Registered Agent - in person, of the said

         a true copy of this citation together with the accompanying copy of Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                          ----------000000----------

The distance actually traveled by me in serving such process was          miles and my fees are as follows:            To certify which witness by my hand.
For Serving Citation     $                               Sheriff_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
For Mileage              $                               County of_ _ _ _ _ _ _ _ _ _ _ _ _ __
For Notary               $                               State of_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
        Total Fees       $                               By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

(Must be verified if served outside the State of Texas)
State of_ _ _ __ _ _ _ _ __ _ _ __
County of_ _ _ _ _ _ _ _ _ _ _ _ _ __
         Signed and sworn to me by the said                                before me this. _ _ __
day of                                    , 20___ , to certify which witness my hand and seal of office.


                                                    Seal                                                                        State & County of
Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                                     Page 13 of 57 PageID 24




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                                     Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                            Page 14 of 57 PageID 25



FORM NO. 353-4-CITATION                                                                                                                                    ESERVE COl
'T'UV   ~'T'.t.'T'V   AV   TVV.t.~




To:     JAMES ELY JR.                                                                                                                                               CITATION
        BY SERVING THE CHAIRMAN OF STATE HIGHWAY AND
        PUBLIC TRANSPORTATION COMMISSION
        1225 E. 11TH STREET                                                                                                                       I              No.: DC-17-17363         J
        AUSTIN, TX, 78701
GREETINGS:                                                                                                                                                 GLORIA MACHADO, et al
You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the                                                        vs.
clerk who issued this citation by I 0 o'clock a.m. of the Monday next following the expiration of twenty days after you                                  XPEDITE LOGISTICS , LLC, et al
were served this citation and XPEDITE LOGISTICS, LLC; CRETE CARRIER CORPORATION; RONALD                                                                 XPEDITE LOGISTICS, LLC; CRETE
ANTHONY BEASLEY; JAMES ELY, Jr. petition, a default judgment may be taken against you.                                                                 CARRIER CORPORATION; RONALD
 Your answer should be addressed to the clerk of the 14th District Court                                                                               ANTHONY BEASLEY; JAMES ELY, Jr.
at 600 Commerce Street, Dallas, Texas 75202.
                                                                                                                                                                   ISSUED
 Said PLAINTIFF being GLORIA MACHADO, ET AL                                                                                                               ON THIS THE 22ND DAY OF
                                                                                                                                                              DECEMBER, 2017
Filed in said Court 19th day of December, 2017 against
 XPEDITE LOGISTICS, LLC, ET AL
                                                                                                                                                  FELICIA PITRE
 For suit, said suit being numbered DC-17-17363 the nature of which demand is as follows:                                                         Clerk District Courts,
 Suit On MOTOR VEHICLE ACCIDENT etc.                                                                                                              Dallas County, Texas
as shown on said petition        , a copy of which accompanies thi s citation. If thi s citation is not served, it shall be
returned unexecuted.                                                                                                                                  By SPRINGE MCKINLEY, Deputy
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.
 Given under my hand and the Seal of said Court at office on this the 22nd day of December, 2017                                                  Attorney for : Plaintiff
ATIEST: FELICIA PITRE
Clerk of the District Courts of Dallas, County, Texas                                                             \,,,uwu,
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                                                                                                                                                   DOMINGO A. GARCIA
                                                                                                                                                   dall asoffice@dgl ey.co
                                       /s/ Springe McKinley                                        ~     ~ .•..•• "1.f . ~
                                                                                                                                                   400 S. ZANG BL YD.
                          By
                                          SPRINGE MCKINLEY
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                                                                                                                                                          DALLAS COUNTY
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                                                                                                                                                                 NOT PAID
                                    Case 3:18-cv-00282-L Document 4 Filed 02/12/18                           Page 15 of 57 PageID 26



                                                                             OFFICER'S RETURN
                                                                             FOR INDIVIDUALS
Cause No. DC-17-17363
Court No: 14th District Court
Style: GLORIA MACHADO, et al
VS.
XPEDITE LOGISTICS, LLC, et al
         Received this Citation the               day of                    , 20_ _at                 o'clock. Executed at                     , within the County of
- - - - - - - - - - - - - - - - -' State of                                   , on the              day of                     , 20_ _ , at         o'clock, by
delivering to the within named                                                            each in person, a copy of this Citation together with the accompanying copy of
Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                              ----------000000----------
                                                                               OFFICER'S RETURN
                                                                              FOR CORPORATIONS
Received this Citation the        day of                            , 20_ _at                 o'clock _.M. Executed at                        , within the County of
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ,State of                                         , on the              day of                   , 20_ _ , at              o'clock     .M.
by summoning the within named Corporation,                                     by delivering t o - - - - - - - - - - - - - - - - -
                                                                                        President - Vice President - Registered Agent - in person, of the said

         a true copy of this citation together with the accompanying copy of Plaintiffs original petition, having first indorsed on same the date of delivery.
                                                                          ----------000000----------

The distance actually traveled by me in serving such process was         miles and my fees are as follows:             To certify which witness by my hand.
For Serving Citation     $                               Sheriff_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
For Mileage              $                               County of_ _ _ _ _ _ _ _ _ _ _ _ __
For Notary               $                               State of_ _ _ _ _ _ _ _ _ _ _ _ _ __
        Total Fees       $                               By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

(Must be verified if served outside the State of Texas)
State of_ _ _ __ __ _ __ _ _ _ _ __
County of_ _ _ _ _ _ _ _ _ _ _ _ _ __
         Signed and sworn to me by the said                                before me this_ _ _ __
day of                                    , 20___ , to certify which witness my hand and seal of office.


                                                    Seal                                                                        State & County of
Case 3:18-cv-00282-L Document 4 Filed 02/12/18                            Page 16 of 57 PageID 27




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        Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                Page 17 of 57 PageID 28                                         DALLAS COUNTY
                                                                                                                                                      1/12/2018 4 :49PM
                                                                                                                                                         FELICIA PITRE
                                                                                                                                          DISTRICT CLERK
NOTICE: THIS DOCUMENT CONTAINS SENSITIVE DATA.                                                                                         Nikita Mosley
                              IN THE 14TH DISTRICT COURT OF DALLAS COUNTY, TEXAS


      GLORIA MACHADO, AS NEXT FRIEND OF ANTHONY                       Hearing Date:
      T. MACHADO; ET AL.

                                             Plaintiff/Petitioner     CASE NO:
                                                                     DC-17·17363
      vs.

     XPEDITE LOGISTICS, LLC; ET AL.                                  DECLARATION OF SERVICE OF:
                                                                     CITATION; PLAINTIFF'S ORIGINAL PETITION AND
                                                                     REQUESTS FOR DISCLOSURE AND EMERGENCY
                                        Defendant/Respondent         INSPECTION




The undersigned hereby declares: That s(he) is now and at all times herein mentioned was a citizen of the United States,
over the age of eighteen , not an officer of a plaintiff corporation, not a party to nor interested in the above entitled action,
has the authority to serve pleadings in the State named below, and is competent to be a witness therein.

Documents came to hand on the 10th day of January, 2018 at 4:49PM .

On the 11th day of January, 2018 at 9:39AM, at the address of 1999 BRYAN STREET SUITE 900, DALLAS, Dallas
County, TX 75201, United States; this declarant served CITATION; PLAINTIFF'S ORIGINAL PETITION AND
REQUESTS FOR DISCLOSURE AND EMERGENCY INSPECTION upon CRETE CARRIER CORPORATION D/B/A
SHAFFER TRUCKING c/o NATIONAL REGISTERED AGENTS, INC., REGISTERED AGENT by then and there
personally delivering 1 true and correct copy(ies) thereof, by then presenting to and leaving the same with CRETE
CARRIER CORPORATION D/B/A SHAFFER TRUCKING c/o NATIONAL REGISTERED AGENTS, INC., REGISTERED
AGENT, Who accepted service, with identity confirmed by physical description, a black female approx. 25-35
years of age with black hair.Antionette Williams authorized agent for C T Corporation.

No information was provided or discovered that indicates that the subjects served are members of the U.S. military.

Service Fee Total : $100.00

My name is Keith Dickerson, my date of birth is 10/7/1955,
and my address is 9660 Audelia Rd #123-46, Dallas, TX 75238.

I declare under the penalty of perjury that the forgoing is true and correct.

Executed in ---'0=-=a.:.:.ll=as=---_____ County, State of Texas, on the day of _ _ __1_11_1_1_1_8__




Keith Dickerson, Reg. #PSC000004708, EXP 2/28/2020, TX


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FOR: Garcia, Domingo                                         ORIGINAL PROOF OF                   Tracking#: 0021161451
REF: IVAN A. AMAYA                                                SERVICE

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                    Case 3:18-cv-00282-L Document 4 Filed 02/12/18                               Page 18 of 57 PageID 29




FORM NO. 353-3- CITATION                                                                                                                         ESERVE

THE STATE OF TEXAS                                                                                                                            CITATION
To:    CRETE CARRIER CORPORATION D/B/A SHAFFER TRUCKING
       BY SERVING ITS REGISTERED AGENTS, NATIONAL REGISTERED AGENTS, INC.
                                                                                                                                             DC-17-17363
       1999 BRYAN STREET, SUITE 900
       DALLAS, TEXAS

GREETINGS:                                                                                                                              GLORIA MACHADO, et al
You have been sued. You may employ an attorney. If you or your attorney do not file a written                                                     vs.
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the                                    XPEDITE LOGISTICS, LLC, et al
expiration of twenty days after you were served this citation and petition, a default judgment may be
taken against you. Your answer should be addressed to the clerk of the 14th District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.                                                                                               ISSUED THIS
                                                                                                                                        22nd day of December, 2017
Said Plaintiff being GLORIA MACHADO, ET AL
                                                                                                                                            FELICIA PITRE
Filed in said Court 19th day of December, 2017 against                                                                                    Clerk District Courts,
                                                                                                                                          Dallas County, Texas
XPEDITE LOGISTICS, LLC, ET AL

For Suit, said suit being numbered DC-17-17363, the nature of which demand is as follows :                                           By: SPRINGE MCKINLEY, Deputy
Suit on MOTOR VEHICLE ACCIDENT etc. as shown on said petition, a copy of which accompanies
this citation. If this citation is not served, it shall be returned unexecuted.                                                           Attorney for Plaintiff
                                                                                                                                          GARCIA A. DOMINGO
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                              dallasoffice@dgley.com
Given under my hand and the Seal of said Court at office this 22nd day of December, 2017.                                                   400 S. ZANG BLVD.
                                                                                                                                          DALLAS, TEXAS 75208
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                 ~''\\.,u~mu111,                                    214-941-8300
                               Is/ Springe McKinley                                     ~'\ ' UmL! A ~""..z
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                        By
                              SPRINGE MCKINLEY
                                                                     , Deputy
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                          Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                          Page 19 of 57 PageID 30




                                                                        OFFICER'S RETURN
Case No.: DC- 17-17363

Court No. 14th District Court

Style: GLORIA MACHADO, et al

VS .

XPEDITE LOGISTICS, LLC, et al
Came to hand on the                        day of                       , 20           , at             o'clock            .M. Executed at _ _ _ _ _ _ _ _ _ _ _ _ __
within the County of                                    at                  o'clock _ _ _ .M. on the                       day of_ _ _ _ __ _ _ _ __ _ _ _ _ _ __

20                     , by delivering to the within named




each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was                miles and my fees are as follows: To certify which witness my hand.



                                For serving Citation          $_    _   _

                                For mileage                   $_ _ _                          of                      County, _ _ _ _ _ _ _ __

                                For Notary                     $_ _ _                         By                                              Deputy

                                                                (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said                                    before me this _ _ _day of                              , 20_ _ _ ,

to certify which witness my hand and seal of office.




                                                                                              Notary Public                      County_ _ _ _ _ _ __
Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                  Page 20 of 57 PageID 31




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Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                    Page 21 of 57 PageID 32




                                 14TH JUDICIAL DISTRICT COURT
                               GEORGE L. ALLEN COURTS BUILDING
                                     600 COMMERCE STREET
                                    DALLAS, TEXAS 75202-4604
                                                                                      January 18, 2018


PAUL ROBERT HORNUNG
400 S ZANG BLVD STE 600
DALLAS TX 75208


DC-17-17363
GLORIA MACHADO, et al vs. XPEDITE LOGISTICS, LLC, et al


ALL COUNSEL OF RECORD AND PROSE PARTLES:

The above case is set for dismissal, pursuant to Rule 165A, Texas Rules of Civil procedure and pursuant
to the inherent power of the Comt, on:

         February 23, 2018 at 11:00 AM

If no answer has been filed you are expected to have moved for a default judgment on or prior to that
date. Your failure to have done so will result in the dismissal of the case on the above date.

If you have been unable to obtain service of process and you wish to retain the case on the docket, you
must appear on the above date, unless you have obtained a new setting from the court coordinator.




                                                         Sincerely,



                                                         ERIC V. MOYE, DISTRICT JUDGE
                                                         14T11 DISTRICT COURT
                                                         Dallas County, Texas
                                                                    . I


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Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                 Page 22 of 57 PageID 33




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                       COUNTY OF :·: •" .. 1
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 Case 3:18-cv-00282-L Document 4 Filed 02/12/18                         Page 23 of 57 PageID 34




                                        14TH JUDICIAL DISTRICT COURT
                                      GEORGE L. ALLEN COURTS BUILDING
                                            600 COMMERCE STREET
                                           DALLAS, TEXAS 75202-4604
                                                                              January 18, 2018


FILE COPY




DC-17-17363
GLORIA MACHADO, et al vs. XPEDITE LOGISTICS, LLC, et al


ALL COUNSEL OF RECORD AND PROSE PARTIES:

The above case is set for dismissal, pursuant to Rule 165A, Texas Rules of Civil procedure and pursuant
to the inherent power of the Court, on:

         February 23,2018 at 11:00 AM

If no answer has been filed you are expected to have moved for a default judgment on or prior to that
date. Your failure to have done so will result in the dismissal of the case on the above date.

If you have been unable to obtain service of process and you wish to retain the case on the docket, you
must appear on the above date, unless you have obtained a new setting from the court coordinator.




                                                         Sincerely,



                                                         ERIC V. MOYE, DISTRICT JUDGE
                                                         14m DISTRICT COURT
                                                         Dallas Courtty, Texas
Cc:
 PAUL ROBERT HORNUNG
 400 S ZANG BLVD STE 600
 DALLAS TX 75208




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Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                    Page 24 of 57 PageID 35




                          STATE OF TEXAS
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Case 3:18-cv-00282-L Document 4 Filed 02/12/18                          Page 25 of 57 PageID 36




                                 14TH JUDICIAL DISTRICT COURT
                               GEORGE L. ALLEN COURTS BUILDING
                                     600 COMMERCE STREET
                                    DALLAS, TEXAS 75202-4604
                                                                              January 18,2018


FILE COPY




DC-17-17363
GLORIA MACHADO, et al vs . XPEDITE LOGISTICS, LLC, et al


ALL COUNSEL OF RECORD AND PROSE PARTIES:

The above case is set for dismissal , pursuant to Rule 165A, Texas Rules of Civil procedure and pursuant
to the inherent power of the Court, on:

         February 23, 2018 at 11:00 AM

If no answer has been filed you are expected to have moved for a default judgment on or prior to that
date. Your fai lure to have done so will result in the dismissal of the case on the above date.

If you have been unabl e to obtain service of process and you wish to retain the case on the docket, you
must appear on the above date, unless you have obtained a new setting from the court coordinator.




                                                          Sincerely,



                                                          ERIC V. MOYE, DlSTR.TCT JUDGE
                                                          14TH DISTRICT COURT
                                                          Dallas County, Texas
Cc:
 PAUL ROBERT HORNUNG
 400 S ZANG BLVD STE 600
 DALLAS TX 75208
Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                Page 26 of 57 PageID 37




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                         STATE OF TEXAS          ~
                         COUNTY Of ~ ~ ~ U. .AS [
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Case 3:18-cv-00282-L Document 4 Filed 02/12/18                               Page 27 of 57 PageID 38                          DALLAS COUNTY
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                                                                                                                              DISTRICT CLERK




                                                     CAUSE NO. DC-17-17363

GLORIA MACHADO, AS NEXT FRIEND                                       §   IN THE DISTRICT COURT OF
OF ANTHONY T. MACHADO and                                            §
MANLIO AMAYA, INDIVIDUALLY, AS                                       §
PERSONAL REPRESENTATIVE OF THE                                       §
ESTATE OF IVAN A. AMAYA,                                             §
DECEASED,                                                            §
                                                                     §
           Plaintiffs,                                               §
                                                                     §   DALLAS COUNTY, TEXAS
 vs.                                                                 §
                                                                     §
XPEDITE LOGISTICS, LLC,                                              §
CRETE CARRIER CORPORATION                                            §
D/B/A SHAFFER TRUCKING,                                              §
RONALD ANTHONY BEASLEY, and                                          §
JAMES ELY, JR.                                                       §
                                                                     §
           Defendants.                                               §   14th JUDICIAL DISTRICT


                   DEFENDANT'S NOTICE OF FILING NOTICE TO REMOVE CASE
                           TO UNITED STATES DISTRICT COURT


TO THE HONORABLE COURT:

           Notice is hereby given that Defendant Crete Carrier Corporation filed in the United States

District Court for the Northern District of Texas, Dallas Division, its Notice of Removal of the

above-styled and numbered cause. A copy of the Notice of Remo val is attached hereto as Exhibit

"A."




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6 5C3 7 9 2.DOCX                                             l of3       D EFEN DANT'S NOT ICE OF FI LING NOTICE TO R EMOVE
                                                                                   CASE TO Ut\ITED STATES DtSlRICT COURT
 Case 3:18-cv-00282-L Document 4 Filed 02/12/18          Page 28 of 57 PageID 39




                                   NAMAN, HOWELL, SMITH & LEE, PLLC

                                   400 Austin A venue, 81h Floor
                                   P. 0. Box 1470
                                   Waco, xas 76703-1470
                                   254.75 . 100 I Facsimile 254.754.6331




                                           State Bar No. 24050940
                                           little@namanhowell.com
                                           (254) 755-4100
                                           FAX: (254) 754-6331

                                 ATTORNEYS FOR DEFENDANTS




65C3792.DOCX                       2 of3            DEFENDANT'S NOTICE OF FILING NOTICE TO REMOVE
                                                            CASE TO UNITED STATES DISTRICT C OURT
 Case 3:18-cv-00282-L Document 4 Filed 02/12/18                   Page 29 of 57 PageID 40




                                CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the forgoing has been served on counsel
of record, on the 2nd day ofFebruary, 2018, as follows:

        Domingo A. Garcia
        Law Offices of Domingo Garcia, P.C.
        400 S. Zang Blvd., 61h Floor, Suite 600
        Dallas, Texas 75208
        dallasoffice @dgley.com
        Certified Mail, Return Receipt Requested
        No. 7015 3010 0002 0198 5617




65C3792.DOCX                                  3 of3          D EFENDANT'S NOTICE OF FILING NOTICE TO REMOVE
                                                                      CASE TO UNITED STATES DISTRICT COURT
Case 3:18-cv-00282-L Document 4 Filed 02/12/18   Page 30 of 57 PageID 41




             EXHIBIT A
 Case 3:18-cv-00282-L Document 4 Filed 02/12/18                 Page 31 of 57 PageID 42
         Case 3:18-cv-00282-L Document 1 Filed 02/02/18           Page 1 of 4 PageiD 1



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

  GLORIA MACHADO, AS NEXT FRIEND                     §
  OF ANTHONY T. MACHADO and                          §
  MANLIO AMAYA, INDIVIDUALLY, AS                     §
  PERSONAL REPRESENTATIVE OF THE                     §
  ESTATE OF IVAN A. AMAYA,                           §
  DECEASED                                           §
                                                     §
         Plaintiff,                                  §
                                                     §
  ~                                                  §
                                                     § CAUSE NO.lS-282
  XPEDITE LOGISTICS, LLC,                            §
  CRETE CARRIER CORPORATION                          §
  D/B/A SHAFFER TRUCKING,                            §
  RONALD ANTHONY BEASLEY, and                        §
  JAMES ELY, JR.                                     §
                                                     §
         Defendants                                  §



                           DEFENDANTS' NOTICE OF REMOVAL


TO THE HONORABLE JUDGE OF SAID COURT:

         NOW COMES Crete Carrier Corporation, Defendant herein, and files this Notice of

Removal, removing this case to federal court under 28 U.S.C. §§ 1332, 1441 and 1446, and in

support there of, would show as follows:

                                           A. Introduction

           1.   This lawsuit arises out of an alleged motor vehicle accident. The accident is

alleged to have occurred in Denton, Denton County, Texas. (Plaintiffs Original Petition, p. 4,

~ 13.)

          2.    Plaintiffs are citizens ofthe State ofTexas.




65C3302 .DOC                                Page 1
 Case 3:18-cv-00282-L Document 4 Filed 02/12/18                            Page 32 of 57 PageID 43
       Case 3:18-cv-00282-L Document 1 Filed 02/02/18                       Page 2 of 4 PageiD 2


          3.    Plaintiffs have named two trucking compames, including Crete Carrier as

Defendants. Neither is a Texas citizens. Plaintiffs have also named two drivers as Defendants.

Neither is a Texas citizen.

         4.     Plaintiffs' pleadings state that they seek relief of $5,000,000.00 in this case.

(Plaintiffs Original Petition, p. 18, ~5l.A.)

         5.     Thus, there is diversity of citizenship among the parties and Defendant Crete

Carrier, as the only Defendant to have been named and served, removes this case to federal

court under 28 U.S.C. §§ 1332, 1441 and 1446.

                                         B. Basis for Removal

         6.     Removal is proper under 28 U.S.C. §§ 1332, 1441 and 1446 because there is

complete diversity of citizenship and the amount in controversy exceeds $75,000 and this

removal is filed within 30 days after the service on Defendants.

         7.    There is complete diversity of citizenship as follows:

               (a)     Plaintiffs are Texas citizens. See Freeman v. Northwest Acceptance

       C01p., 754 F.2d 553, 555-56 (5th Cir. 1985).

               (b)     Defendant Crete Carrier Corporation            IS   corporation organized and

       exiting under the laws of the State of Nebraska, with its principal place of business in

       Lincoln, Nebraska. Thus, it is a citizen of Nebraska and diverse from Plaintiffs. See 28

       U.S.C. § 1332(a).

         8.    Plaintiffs' pleadings state that they seek relief in an amount of $5,000,000.

(Plaintiffs Original Petition, p. 18,   ~5l.A.)   SeeS. W.S. Erectors Inc. v. Infax Inc., 72 F.3d 489,

492 (5th Cir. 1996) (removing defendant can rely on plaintiffs statement of amount in

controversy); see also 28 U.S.C. § 1446(c).




65C3302.DOC                                  Page 2
Case 3:18-cv-00282-L Document 4 Filed 02/12/18                      Page 33 of 57 PageID 44
       Case 3:18-cv-00282-L Document 1 Filed 02/02/18                  Page 3 of 4 PageiD 3


          9.        Defendant Crete Carrier's notice of removal is timely, as it is filed within 30

days of its being served with a pleading stating a removable case. Alim v. KBR, Inc., No. 13-

11094, 2014 U.S. App. LEXIS 10508, at *4 (5th Cir. 2014) (unpub.) (30-day deadline for

removal runs from the defendant's receipt of a pleading setting forth a removable claim).

          10.       Defendant Crete Carrier Corporation is the only named defendant that has been

served as of the date of this removal, making the consent of the other defendants to this

removal unnecessary. See 28 U.S.C. § 1446(b)(2) (requiring consent of all defendants joined

and served).

          11.   Copies of all pleadings, process, orders, and other filings in the state-court suit

will be submitted once received to support this notice as required by 28 U.S.C. § 1446(a).

          12.   Venue is proper in this district under 28 U.S.C. §144l(a) because the state court

                                           111
where the suit has been pending, the 14 Judicial District, is located in this district.

          13.   Defendants will promptly file a copy of this notice of removal with the clerk of

the state court where the suit has been pending.

                                           C. Jury Demand

          14.   Plaintiffs have demanded a jury trial, but it is not clear from the state court

docket if Plaintiffs have paid the jury fee.

                                            D. Conclusion

          15.   There is complete diversity of citizenship and the amount in controversy

exceeds $75,000. Thus, there is diversity jurisdiction over this matter and removal is proper as

set forth herein.




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      Case 3:18-cv-00282-L Document 1 Filed 02/02/18               Page 4 of 4 PageiD 4


                                               NAMAN, HOWELL, SMITH & LEE, PLLC

                                               400 Austin A venue, 81h Floor
                                               P. 0. Box 1470
                                               VVaco, Texas 76703-1470
                                               254.755.4100 I Facsimile 254.754.6331


                                               BY: Is/Jordan A. Mayfield
                                                   JORDAN A. MAYFIELD
                                                   State Bar No . 24037051
                                                   mayfield@namanhowell.com
                                                   ROBERT LITTLE
                                                   State Bar No . 24050940
                                                   I ittle@namanhowe II. com



                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the forgoing has been served on counsel
of record, on the 2"ct day ofFebruary, 2018, as follows:

       Domingo A. Garcia
       Law Offices of Domingo Garcia, P.C.
       400 S. Zang Blvd., 61h Floor, Suite 600
       Dallas, Texas 75208
       dallasoffice @dgley.com
       Certified Mail, Return Receipt Requested
       No. 7015 3010 0002 0198 5617



                                                    Is/Jordan A. Mayfield




65C3302.DOC                               Page 4
                  Case 3:18-cv-00282-L Document 4 Filed 02/12/18                                                                            Page 35 of 57 PageID 46
    Js 44 (Rev. o6/ 17J _   ~3ili1~-cv-00282-L                            D~Wlffitffivf#Sfflti?f18                                               Page 1 of 1 PageiD 5
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This form , approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet (SH: /N.WR UCl!ONS ON ND<r f'AGE OF THIS FO/IM)
    I. (a) PLAINTIFFS                                                                                              DEFENDANTS
    Glorta Machado, a/nlf of Anthony T. Machado and Manlio Amaya. Indiv., as                                     Xpedite Logistics. LLC, Crete Carrier Corporation d/b/a Shaffer Trucking,
    Personal Representative of the Estate me Ivan A. Amaya, Deceased                                             Ron ald Anthony Beasley, and James Ely, Jr.

      (b) County of Residence of First Listed Plaintiff              Dallas County                                 County of Residence of First Listed Defendant                     Dallas, County
                                  (l:X CI:PT IN U. S P/.AIN 11FF CAS!:.'\)                                                                            (IN U S !'l.AIN11FF ( .ASFS ONI.Y)
                                                                                                                   NOTE:        IN LA ND CONDEM NATION CAS ES. US E THE LOCATIO N OF
                                                                                                                                THE TRACT OF LAND INVOLVED.

       (C) Attorneys (Firm Name, Addre.u . and Telephone Number)                                                  Attorneys (Ij Knnwn)
    Law Offices of Domingo Garcia, P.C.                                                                         Naman, Howell, Smith & Lee, PLLC
    400 S. Zang Blvd., 6th Floor, Suite 600, Dallas, Texas, 75208                                               400 Austin Ave., Suite 800, Waco, Texas 76701
    (2 14) 941-8300                                                                                             (254) 755-4100
    II. BASIS 0 F JURI SDI CTI ON (!'lace an ··x" in o ne Box Only)                                 Ill. CITIZENSHIP OF PRINCIPAL PARTIES rl'lace an ··.c                                           in one Boxfnr I 'laur~iff
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                                                                                                                                                                    of Business In This State

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             Defendant                          (!ndic~te Citizen.lihip of Parties in /Jem Ill)                                                                      o f Business In Another State

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0 130 Miller Act                     0 .>15 Airplane Product                   Product Liability       0 690 Other                                     28 usc 157                             3729(a))
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       & Enforcement of Judgment              Slander                       Personal Inj ury                                                     0 820 Copyrights                     0 430 Banks and Banking
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       Srudent Loans                 0 340 Marine                            Injury Product                                                             New Drug Application          0 470 Racketeer Influenced and
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0 195 Contract Product Liability     0 360 Other Personal                   Property Damage                     Relations                        0 864 SSID Title XV I               0 890 Other Statutory Actions
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0 220 Foreclosure                    0 44 1 Voting                    0   463 Alien Detainee                   Income Security Act                     or Defendant)                 0 899 Admini strati ve Procedure
0 230 Rent Lease & Ejectment         0 442 Employment                 0   51 0 Motions to Vacate                                                 0 871 IRS- Third Party                      Act/Review or Appeal o f
0 240 Tarts to Land                  0 443 Housing/                            Sentence                                                                26 USC' 7609                          Agency Decision
0 245 Tort Product Liability                Accommodations            0   530 General                                                                                                ::I 950 Consti tutionality o f
0 290 All Other Real Property        0 445 Amer. w/Disabi lities ·    0   535 Death Penalty                     IM!~UGilA TlOI'I                                                             State Statutes
                                            Employment                    Other:                       0 462 Naturalization Application
                                     0 446 Amer. w/Disabilities -     0   540 Mandamus & Other         0 465 Other Immigrati on
                                            Other                     0   550 Civil Right s                  Actions
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V. ORIGIN (l'lace an          "X '. inOne BoxOnf.>)
0 I Original                ~2   Removed from               0 3      Remanded from                0 4 Reinstated or         0 5 Transferred from                  0 6 Multidistrict            0 8 Multidistrict
    Proceeding                   State Court                         Appellate Court                   Reopened                 Another District                      Litigation-                    Litigation -
                                                                                                                                    (<p ccify)                        Transfer                       Direct File
                                         Cite the U.S. Civi l Statute under which you arc filing (Do not cile jurisdictionul •·tututes unless diversity):
VI. CAUSE O F ACTION 28 U.S.C Section 1441 and Section 1446
                                         Brief description of cause:
                                         Motor Vehicle Accident
VII. REQUESTED IN                        0 CHECK IF THIS IS A CLASS ACTION                                 DEMANDS                                           CHECK YES only if demanded in complaint:
     COMPLAINT:                              UNDER RULE 23, F.R.Cv.P.                                       5,000,000.00                                     J URY DEMAND:        ]l!{ Yes   ONo
VIII. RELATED CASE(S)
                                            (See imtructions) :
      IF ANY                                                                                                                                          DOCKET NUMBER
DATE
02/02/2018
FOR OFFICE USE ONLY

    RECEIPT #                    AMOUNT                                      APPLYING IFP                                        JUDGE                                  MAG. J UDGE
                ---------                  --------------                                                                                                                              ------------------
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         Case 3:18-cv-00282-L Document 1-2 Filed 02/02/18                          Page 1 of 2 PageiD 6
Supplemental Civil Cover Sheet
Page 1 of2


                        Supplemental Civil Cover Sheet for Cases Removed
                                       From State Court


This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S. District
                  Clerk's Office. Additional sheets may be used as necessary.


    1. State Court Information:

        Please identify the court from which the case is being removed and specify the number assigned
        to the case in that court.

                                 Court                                             Case Number
        14th Judicial District Court of Dallas County, Texas   DC-17-17363



   2. Style of the Case:

       Please include all Plaintiff(s), Defendant(s), Tntervenor(s), Counterclaimant(s), Crossclaimant(s)
       and Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please
       list the attomey(s) of record for each party named and include their bar number, firm name,
       correct mailing address, and phone number (including area code).

                        Party and Party Type                                         Attornev(s)
        Gloria Machado, a/nlf of Anthony T. Machado and        Paul Hornung, No. 00795831 , Domingo Garcia, P.C.
        Manlio Amaya, Ind. as Personal Rep of Estate of        400 S. Zang Blvd .. 6th Floor, Suite 600, Dallas, Tx   7520~
        Ivan A. Amaya, Deceased- DEFENDANTS                    (214) 941-8300
        Xpedite Logistics, LLC, Crete Carrier Corp, d/b/a      Jordan Mayfield, No. 24037051, NHSL, PLLC
        Shaffer Tmck.ing, Ronald Beasley and James Ely- PLFS 400 Austin Ave. , Waco, Tx. 76701 (254) 755-4100


   3. Jury Demand:

       Was a Jury Demand made in State Court?                  0Yes
                If"Yes," by which party and on what date?

                Plaintiff                                                   December 19,2017
                Party                                                       Date
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         Case 3:18-cv-00282-L Document 1-2 Filed 02/02/18               Page 2 of 2 PageiD 7
Supplemental Civil Cover Sheet
Page 2 of2

    4. Answer:

        Was an Answer made in State Court?       0   Yes

                  If"Yes," by which party and on what date?


                  Party                                            Date


   5. Unserved Parties:

        The following parties have not been served at the time this case was removed:

                             Par!Y_                               Reason(s) for No Service
        Xpeditc Logistics, LLC
        Ronald Anthony Beasley
        James Ely, Jr




   6. Nonsuited, Dismissed or Terminated Parties:

       Please indicate any changes from the style on the State Court papers and the reason for that
       change:

                             Patjy                                         Reason




   7. Claims of the Parties:

       The filing party submits the following summary of the remaining claims of each party in this
       litigation:

                             Par_n:                                       Claim(s)
        Plaintiff(s)                                 Negligence
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                        STATE OF T8W.S                              J~'
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 Case 3:18-cv-00282-L Document 4 Filed 02/12/18                            Page 39 of 57 PageID 50       DALLAS COUNTY
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                                                                                                            FELICIA PITRE
                                                                                                         DISTRICT CLERK
         2-CIT-ESERVE
                                                                                                   Marcus Turner
       2-CIT-SOS-ESERVE                                 DC-17-17363
                                             CAUSE NO . _ __

GLORIA MACHADO, AS NEXT FRIEND                                    IN THE DISTRICT COURT
OF ANTHONY T. MACHADO, and
MANLIO AMAYA, INDIVIDUALLY, AS
PERSONAL REPRESENTATIVE OF THE
ESTATE OF IVAN A. AMAYA,
DECEASED,
     Plaintiffs,


vs.

                                                                         JUDICIAL DISTRICT


XPEDITE LOGISTICS, LLC, CRETE
CARRIER CORPORATION D/B/A
SHAFFER TRUCKING, RONALD
ANTHONY BEASLEY, AND JAMES ELY,
JR.
     Defendants.
                                                                  DALLASCOUNTY,TEXAS

      PLAINTIFFS' ORIGINAL PETITION AND REQUESTS FOR DISCLOSURE AND
                          EMERGENCY INSPECTION

TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW, Plaintiffs GLORIA MACHADO, AS NEXT FRIEND OF ANTHONY

T. MACHADO and MANLIO AMAYA, INDIVIDUALLY AND AS PERSONAL

REPRESENTATIVE OF IVAN A. AMAYA, DECEASED (" Plaintiffs" herein),, and who, as

lawful heirs of decedents and as statuary beneficiaries under TEX. CIV. PRAC. & REM. CODE

ANN. § 71.004, bring this wrongful death action pursuant to TEX. CIV. PRAC. & REM. CODE

ANN. § 71.002 and bring this survival action pursuant to the Texas survival statute, TEX. CIV.

PRAC. & REM . CODE ANN . § 71 .021 complaining of and against XPEDITE LOGISTICS, LLC,

CRETECARRIERCORPORATIOND/8/ASHAFFERTRUCKING,RONALDANTHONY

PLAINTIFFS'   ORIGI~AL   PETITION, REQUEST FOR DISCLOSl iRf. Al\D Ei\JERGENCY INSPl:CTJON-ms   Page I
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 BEASLEY, and JAMES ELY, JR. (''Defendants'' herein), and would respectfully show unto the

 Court as follows:


                                              ).
                                   DISCOVERY CONTROL PLAN

 I.      Plaintiffs will submit this action under Discovery Control Plan Level III, per Rule 190.4 of

the Texas Rules of Civil Procedure.

                                                     II.
                                                 RELIEF

2.       This Court has jurisdiction as Plaintiffs' damages sought are within the jurisdictional

limits ofthis Court.


                                                    III.
                                            JURISDICTION

3.       This is a wrongful death, survival and personal injury action involving negligence, malice,

and negligence per se of the Defendant. This action is brought pursuant to Tex .Civ. Prac. & Rem.

Code§ 71.001 , et. seq. and§ 71.021. The amount in controversy far exceeds this Court's minimum

jurisdictional amount.

                                                   IV.
                                                 VENUE

4.       Defendant Crete Carrier Corporation d/b/a Shaffer Trucking's principal place ofbusiness is

located in Dallas County, Texas; therefore Venue is proper in Dallas County, Texas pursuant to

sections 15.002(a)(3) and 15.005 of the Texas Civil Practice and Remedies Code.

                                                    v.
                                               SERVICE

5.       Plaintiffs are individuals domiciled in Dallas County, Texas.

PLAII\TIHS' ORI<;I:'IJAL PETITION. REQl iEST FOR DISCLOSl:RE AND EMtRGENC\' INSPECTION -ms         Page 2
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 6.      Defendant, XPEDITE LOGISTICS, LLC, is a foreign corporation authorized to do

 business in the State of Texas whose registered office is located at 3378 W. Highway 117,

 Sapula, OK 74066 and may be served with process by serving its registered agent for service of

 process, Lucy D. Shaw, at 321 Nolan Street, San Antonio, Texas Issuance of citation is

requested at this time.

7.       Defendant, CRETE CARRIER CORPORATION D/B/A SHAFFER TRUCKING is

a foreign corporation authorized to do business in the State of Texas whose principal place of

business in Texas and registered office is located at 400 E. Pleasant Run Road, Wilmer, Texas

75172 and may be served with process by serving its registered agent for service of process,

National Registered Agents, Inc. located at 1999 Bryan Street, Suite 900, Dallas, Texas.

Issuance of citation is requested at this time.

8.       Defendant, RONALD ANTHONY BEASLEY, is an individual. Citation should be

issued to the Chainnan of the Texas Transportation Commission, who should forward the

Citation to Mr. Beasley at his residence located at 747 N. Mocassin Street, Sapula, OK 74055 or

wherever he may be found. Issuance of citation is requested at this time.

9.      Defendant, JAMES ELY, JR., is an individual. Citation should be issued to the

Chainnan of the Texas Transportation Commission, who should forward the Citation to Mr. Ely

at his residence who may be served with process at his residence, located at 5656 Buell Street,

Talbott, TN 37877 or wherever he may be found. Issuance of citation is requested at this time.

I 0.    Whenever in this petition it is alleged that a Defendant committed any act or omission, it

is meant that the Defendant's officers, directors, vice-principals, agents, servants, and/or

employees committed such act or omission and that, at the time such act or omission was


PLAINTIFFS' ORIGINAL PETITION, REQ( I[ST FOR DISCLOSl iRE AND J..:i\IERGEi\'CY INSPECTJON-ms   Pagc3
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 committed, it was done with the full authorization, ratification, or approval ofthat Defendant or

 was done in the routine and normal course and scope of employment of that Defendant's officers,

directors, vice-principals, agents, servants, and/or employees. Accordingly, Defendant had actual

knowledge of all adverse actions and conduct against Plaintiffs through Defendant's respective

officers, directors, vice-principals, agents, servants, and/or employees.

                                                VI.
                                         MISNOMER/ALTER EGO

11,        In the event any parties are misnamed and/or are not included herein, it is Plaintiffs'

contention that such was a "misidentification," "misnomer," and/or such parties are/were "alter egos"

of the parties named herein. Under Plaintiffs' information and belief, such parties knew or should

have known that the action would have been brought against it, but for a mistake concerning the

proper party's identity, and knew or had reason to know what event, action, and/or omission caused

suit to be filed. Consequently, the parties had sufficient time to gather the necessary witnesses and

evidence to defeat Plaintiffs' cause of action. As a result, the Plaintiffs alternatively contend that

such "corporate veils" should be pierced to hold such parties properly included in the interest of

justice.

                                                         VII.
                                                 TRIER OF FACT

12.        Plaintiffs hereby respectfully request that a jury be convened to try the factual issues of

this case.

                                                   VIII.
                                                 FACTS
13.        Plaintiffs respectfully show the Court on or about October 22, 2017, at about 12:47 a.m.

in the proximity of the 13000 North Stemmons Freeway and mile marker 481 in Denton, Denton


PI.AINTIHS' ORIGI'IIAL PETITION, Rt:Ql l};s'J   .-oR DISCLOSl iR[ AND EMERGt:NC\   1:-./SPECriQN.ms   Page 4
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County, Texas. Plaintiffs Ivan A. Amaya and Anthony T. Machado were passengers in a vehicle

traveling northbound in the 13000 block of Stemmons Freeway driven by Stephanie Elizabeth

Romero, when suddenly and without warning, Defendants in two 18-wheeler were negligent and

were the proximate cause of the accident which killed one Plaintiff and severely injured another.

Ronald Anthony Beasley. Defendant, Ronald Anthony Beasley, who was in the course and

scope ofhis employment with Defendant, Xpedite Logistics, LLC, driving a vehicle owned or

leased by Defendant, Xpedite Logistics, LLC. Defendant James Ely, Jr. operating an orange

2015 freightliner 18-wheeler owned or leased by Defendant Crete Carrier Corporation d/b/a

Shaffer Trucking , also traveling northbound in the 13000 block of Stemmons Freeway, when

he struck Plaintiffs' vehicle driven by Plaintiff Stephanie Elizabeth Romero. Defendant

James Ely, Jr. who was, in the course and scope of his employment with Defendant, Crete

Carrier Corporation d/b/a Shaffer Trucking, driving a vehicle owned or leased by

Defendant, Crete Carrier Corporation d/b/a Shaffer Trucking.

14.      Defendants struck and killed Stephanie Elizabeth Romero and Ivan A. Amaya. Plaintiff,

Anthony T. Machado, was on the passenger side of the deceased's vehicle was injured.

                                                      IX.
                           NEGLIGENCE AND NEGLIGENCE PER SE

15.     Defendants' conduct was the proximate cause of the Plaintiffs sustaining the damages set

        forth herein that Defendants' acts or omissions constituted negligence in following acts,

        to wit:

        a.        In failing to keep such a look out as a person of ordinary prudence would have
                  kept under similar circumstances;

        b.        In failing to apply the brakes to the vehicle in order to avoid the collision;


PLAINTIFFS' ORIGI:\lAL PETITION. REQl lt:ST FOR OISCL.OSllRf. AND Ei\IERGENC\'   I~SPECTION-ms     Page 5
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           c.     In failing to tum the direction of the vehicle away from the Plaintiff, in order to
                  avoid the accident;

           d.     In failing to sound hom or warn Plaintiff prior to the accident;

           e.     In failing to identify, predict, decide and execute evasive maneuvers appropriately
                  in order to avoid co11ision:

           f.     In driving recklessly, in violation of Texas Transportation Code § 545.401;

          g.     In causing an accident involving personal injuries or death in violation of Texas
                 Transportation Code § 550.02 I;

          h.     In failing to act as a reasonably prudent person would have under the same or
                 similar circumstances;

          i.     In traveling at an unsafe speed;

          I.     In failing to control the speed of the vehicle as necessary to avoid colliding with
                 another person or vehicle that is on or entering the highway in compliance with
                 law and the duty of each person to use due care in violation of Texas
                 Transportation Code § 545.35l(b)(2); and

          k.      In driving in an unsafe manner and hitting Plaintiffs' vehicle.

16.       Each of the above acts and omissions, singularly or in combination with each other, was a

proximate cause of Plaintiffs sustaining injuries and damages that are described below. As a

result, Plaintiffs' cause of action arises out of a basis of law, thus entitling PlaintifTs to the relief

sought.

                                                      X.
                NEGLIGENT ENTRUSTMENT, HIRING AND SUPERVISION

17.       The conduct of Defendant, Xpedite Logistics, LLC, by negligently entrusting his black

2017 Ken worth 18-wheeler vehicle to Defendant, Ronald Anthony Beasley, was the proximate

cause of Plaintiffs' damages in the following acts of negligence, to wit:

          a.     Prior to October 22, 20 J7, Defendant, Xpedite Logistics, LLC, gave consent,
                 explicitly and/or implicitly, to Defendant Ronald Anthony Beasley to operate said

PLAI:'<iliHS' ORIGINAL PETITION. RF.Ql lf:ST FOR I>ISCLOSl iRf: AND F.MERGENC\' INSPF.CTION-m>       Page 6
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                 vehicle;

         b.     Defendant, Xpedite Logistics, LLC knew or should have known that Defendant,
                Ronald Anthony Beasley , by a preponderance of the evidence, was a reckless
                driver;

         c.     Defendant, Xpedite Logistics, LLC , should have used ordinary care, knowing
                that Defendant, Ronald Anthony Beasley, was an unfit and incompetent driver,
                and should have denied the use of said vehicle to Defendant, Ronald Anthony
                Beasley, who subsequently caused the accident which was the proximate cause of
                the death to the deceased and injuries and damages sustained by Plaintiffs;

        d.      Defendant, Xpedite Logistics, LLC , knew that Defendant, would create an
                unreasonable risk of danger to persons and property on the public streets and
                highways of Texas;

        e.      Defendant, Xpedite Logistics, LLC, through acts of negligence, placed the
                deceased and Plaintiffs and general public's safety at jeopardy and is liable for the
                hann suffered by Plaintiffs. Defendants are liable, joint and severally, for all of
                Plaintiff's injuries.

18.     Defendant, Ronald Anthony Beasley's, conduct was the proximate cause of the
Plaintiffs sustaining the damages set forth herein that said Defendant' s acts or omissions
constituted negligence in following acts, to wit:

        a.      In failing to keep such a look out as a person of ordinary prudence would have
                kept under similar circumstances;

        b.      In failing to apply the brakes to the vehicle in order to avoid the collision;

        c.      In failing to tum the direction of the vehicle away from the Plaintiff, in order to
                avoid the accident;

        d.      In failing to sound horn or warn Plaintiff prior to the accident;

        e.      In failing to identifY, predict, decide and execute evasive maneuvers appropriately
                in order to avoid collision:

        f.      In driving recklessly, in violation of Texas Transportation Code § 545.40 I;

        g.     In causing an accident involving personal injuries or death in violation of Texas
               Transportation Code § 550.021;

       h.       In failing to act as a reasonably prudent person would have under the same or

PLAINTIFfS' ORIGINAl PETITION. REQI IEST FOR OJSCLOSI IRE AND EI\IERGENC\' INSPECTION-ms         Pagc7
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                   similar circumstances; and

         1.        In failing to control the speed of the vehicle as necessary to avoid colliding with
                   another person or vehicle that is on or entering the highway in compliance with
                   law and the duty of each person to use due care in violation of Texas
                   Transportation Code § 545.35l(b)(2).

         k.         In driving in an unsafe manner and hitting Plaintiffs' vehicle.

19.      Each of the above acts and omissions, singularly or in combination with each other, was a
proximate cause of Plaintiffs sustaining injuries and dan1ages that are described below. As a
result, Plaintiff cause of action arises out of a basis of law, thus entitling Plaintiffs to the relief
sought.
                                                        XI.
                  NEGLIGENT ENTRUSTMENT, HIRING AND SUPERVISION

20.      The conduct of Crete Carrier Corporation d/b/a Shaffer Trucking , by negligently

entrusting his 2015 orange Freightliner vehicle to Defendant, James Ely, Jr., was the

proximate cause of Plaintiffs' damages in the following acts of negligence, to wit:

         a.        Prior to October 22, 2017, Defendant, Crete Carrier Corporation d/b/a Shaffer
                   Trucking , gave consent, explicitly and/or implicitly, to Defendant, James Ely,
                   Jr., to operate said vehicle;

         b.        Defendant, Crete Carrier Corporation d/b/a Shaffer Trucking , knew or
                   should have known that Defendant, James Ely, Jr., by a preponderance of the
                   evidence, was a reckless driver;

        c.        Defendant, Defendant, Crete Carrier Corporation d/b/a Shaffer Trucking,
                  should have used ordinary care knowing that, Defendant, James Ely, Jr., was an
                  unfit and incompetent driver, and should have denied the use of said vehicle to
                  Defendant, James Ely, Jr., who subsequently caused the accident which was the
                  proximate cause of the death to the deceased and injuries and damages sustained
                  by Plaintiffs;

        d.        Defendant, Crete Carrier Corporation d/b/a Shaffer Trucking, knew that
                  Defendant, James Ely, Jr., would create an unreasonable risk of danger to
                  persons and property on the public streets and highways of Texas;

        e.        Defendant, Crete Carrier Corporation d/b/a Shaffer Trucking, through acts of
                  negligence. placed the deceased and Plaintiffs and general public ' s safety at


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                jeopardy and is liable for the harm suffered by Plaintiffs. Defendants are liable,
                joint and severally, for all of Plaintiffs injuries.

21 .     When it is alleged that Defendant, Crete Carrier Corporation d/b/a Shaffer Trucking,

acted, or failed to act, it is alleged that Defendant, Crete Carrier Corporation d/b/a Shaffer

Trucking, did so through the agents, officers, employees, principals, and vice-principals of

Defendant, Crete Carrier Corporation d/b/a Shaffer Trucking, acting within the course and

scope of their employment, agency and authority. Among other acts and omissions, Defendant,

Crete Carrier Corp Shaffer Trucking, was negligent in the following respects:

        a.      Negligent training of Defendant, James Ely, Jr.;
        b.      Negligent supervision of Defendant, James Ely, Jr.;
        c.      Negligent hiring, retention, and qualification of Defendant James Ely, Jr.
        d.      Failing to properly inspect and maintain the vehicle in question; and
        e.      Failing to adhere to governmental safety standards.
        f       in failing to properly train its employees
        g.      in failing to properly supervise its employees
        h.      in failing to provide proper equipment to its employees.
        1.      In allowing the materials to be carried on its trailers.
        J.      in contracting with third parties to provide services when it was not capable or
                qualified to do such.

                                             XII.
                                     VICARIOUS LIABILITY

22.     At the time of the incidents described above, Defendant, Ronald Anthony Beasley, was

acting in the course and scope of his employment with Defendant Xpedite Logistics, LLC and,

upon information and belief, operating a vehicle owned by Defendant, Xpedite Logistics, LLC .

As a result, Defendant, Xpedite Logistics, LLC , is vicariously liable for their employees'

negligence under the doctrine of respondeat supen'or.

23.     At the time of the incidents described above, Defendant, Ronald Anthony Beasley, was

acting in the course and scope of his employment with Defendant, Xpedite Logistics, LLC and,

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upon information and belief, operating a vehicle owned by Defendant, Xpedite Logistics, LLC.

As a result, Defendant, Xpedite Logistics, LLC, is vicariously liable for their employees'

negligence under the doctrine of respondeat superior.

                                                   XIII.
                                             PUNITIVE DAMAGES

24.      Plaintiff Anthony T. Machado's injuries and Decedent Ivan A. Amaya's wrongful death

and painful injuries and the damages of his family were proximately caused by the negligence,

gross negligence and malice of Defendants. Pursuant to Section 26, Article XVI of the Texas

Constitution and TEX. CIV. PRAC. & REM. CODE ANN.§ 71.009, Plaintiffs seek punitive or

exemplary damages from Defendants in addition to Plaintiffs' actual damages due to the injuries

and Decedent's death. Plaintiffs seek punitive damages against Defendants.

25.      Defendants in the cause, at one time or another, acted with gross negligence or malice, in

wilful or wanton disregard for the safety of the Decedent and/or the general public. Defendants

specifically intended to cause substantial injuries to the Decedent, or its acts and omissions were

done with an extreme risk to and an unconscionable lack of concern for the Decedent and/or the

general public. Defendants XPEDITE LOGISTICS, LLC, CRETE CARRIER

CORPORATION DIB/A SHAFFER TRUCKING were grossly negligent when it retained the

co-defendant drivers. Defendants XPEDITE LOGISTICS, LLC, CRETE CARRIER

CORPORATION D/B/A SHAFFER TRUCKING knew the extreme risk of retaining and

allowing the co-defendants to continue driving its trucks and intentionally with malice put him

back on the road with no training, no supervision and exposed persons like Anthony T.

Machado and Ivan A. Amaya to an extreme degree of risk. Defendants also intended and or



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acted with reckless indifference that the death of Ivan A. Amya occur when it did nothing to

ensure that these co-defendants were competent to drive the vehicle owned or controlled by

Defendants. Co defendant drivers were grossly negligent and or acted with malice when he

intentionally failed to slow down, to take evasive action, to apply his brakes, knowing that he

was going to hit the vehicle of Plaintiff's decedent, with such an impact that the impact would

cause severe bodily injuries and death. Co defendant intended that the death would occur when

he intentionally and or with malice, engaged in the conduct complained of in paragraphs VI,

above, and caused the injuries of Plaintiff Anthony T. Machado and injuries and death of Ivan

A. Amaya. Co- Defendants were grossly negligent in its conduct that resulted in the material

being loaded and carried in such a way to show reckless indifference to the traveling public.

Further such gross negligence is reflected in it's lack oftraining, supervision and retention of its

employees who loaded such materials in a manner that was certain to cause death or severe injury

and knowing such, continued with such reckless conduct.

26.     In addition, the acts or omissions of the Defendants entitles Plaintiffs to recover

exemplary damages against Defendants, which are not limited. TEX. CIV. PRAC. & REM .

CODE ANN. § 41.008. The conduct of the Defendants involved such an entire want of care as

could have only resulted from a conscious indifference to the rights, safety, and welfare of others,

including Plaintiff Anthony T. Machado and Decedent Ivan A. Amaya; therefore, Plaintiffs

sue for exemplary damages in an amount as detennined by the trier offact. Defendants are liable

for punitive damages under Texas Civil Practices and Remedies Code 71.009, for the injuries of

Plaintiff Anthony T. Machado and untimely death and suffering of the Decedent Ivan A.



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Amaya.

                                                      XIV.
                        EMERGENCY APPLICATION FOR ENTRY AND
                          INSPECTION AND RESTRAINING ORDER


27.      Plaintiffs ask the Court to order Defendant, Crete Carrier Corporation d/b/a Shaffer

Trucking, to permit Plaintiffs and their experts, attorneys, and other representatives to inspect the

Orange20I5 Freightliner, YIN#: 1FUJGLD56FLGM3642, which was driven by Defendant, James

Ely, Jr., as allowed by Texas Rule of Civil Procedure 196.1 . Furthermore, Plaintiffs ask the Court

to order Defendant, Crete Carrier Corporation d/b/a Shaffer Trucking, to pennit Plaintiffs and

their experts, attorneys, and other representatives to inspect the 2009 Silver Trailer, YIN #:

IJJV532W89L264368, which was being hauled by Defendant, James Ely, Jr., as allowed by Texas

Rule of Civil Procedure 196.1

28.      Plaintiffs ask the Court to order Defendant, Xpedite Logistics, LLC, to permit

Plaintiffs and their experts, attorneys, and other representatives to inspect the Black 2017 Kenworth,

VfN #: IXKZPPOXSHJI59663 , which was driven by Defendant, Ronald Anthony Beasley, as

allowed by Texas Rule of Civil Procedure I96.1. Furthermore, Plaintiffs ask the Court to order

Defendant, Xpedite Logistics, LLC, to permit Plaintiffs and their experts, attorneys, and other

representatives to inspect the20 16 Silver Trailer, VfN #:I GRDM9621 GH7288I8, which was being

hauled by Defendant, Ronald Anthony Beasley, as allowed by Texas Rule of Civil Procedure I96.1 .

29.     On December I, 2017, Plaintiffs' representatives sent spoilation letters and have repeatedly

attempted to inspect the tank in question, but have not been allowed to do so. As a result, a

Temporary Restraining Order is immediately necessary for the purpose of inspecting, measuring,

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surveying, photographing, and/or filming the property and conditions that caused the fatalities and

serious injuries, and Defendant, Crete Carrier Corporation d/b/a Shaffer Trucking, should be

immediately ordered not to move or alter said premises or alter any condition on that property until

Plaintiffs' inspection has been completed. Otherwise, the status quo will not be preserved, and

evidence critical to this lawsuit will be materially altered and/or destroyed.

30.     On December I, 20 I 7, Plaintiffs' representatives sent spoilation letters and have repeatedly

attempted to inspect the tank in question, but have not been allowed to do so . As a result, a

Temporary Restraining Order is immediately necessary for the purpose of inspecting, measuring,

surveying, photographing, and/or filming the property and conditions that caused the fatalities and

serious injuries, and Xpedite Logistics, LLC, should be immediately ordered not to move or alter

said premises or alter any condition on that property until Plaintiffs' inspection has been completed.

Otherwise, the status quo will not be preserved, and evidence critical to this lawsuit will be

materially altered and/or destroyed.

31.     Plaintiffs' inspection is relevant to this lawsuit because it is unclear where and how the

collision killed Stephanie Elizabeth Romero and Ivan A. Amaya and critically injured Anthony T.

Machado. The person who will conduct the inspection will be Paul Homung or another attomey

from the Law Office ofDomingoZ Garcia, P.C., who may be accompanied by a technical expert(s)

retained by the Law Office of Domingo Garcia, P.C., and who are qualified to perform the

inspection, measurement, survey, photographing, and filming by his or their training and education.

32.     For the reasons stated above, Plaintiff asks the Court to set this application for hearing

immediately and, after the hearing, to order Defendants, Crete Carrier Corporation d/b/a Shaffer



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Trucking and Xpedite Logistics, LLC, to allow Plaintiffs attorneys and experts to enter the

property and to not alter, remove, or modit)r anything on that property and to preserve everything on

that property in its current condition as set forth above until the parties enter into an agreement upon

a protocol for the inspection, measurement, surveying, photographing and filming the said property

and accident site

                                        XV.
                        WRONGFUL DEATH AND SURVIVAL DAMAGES

33.     The decedent and family have sustained and or seeks recovery under the Texas Wrongful

Death Statute, TEX. CIV. PRAC. & REM. CODE§ 71.001 et. seq., and for damages sustained

pursuant to the Texas Survival Statute TEX. CN. PRAC. & REM. CODE ANN. § 71.021

against Defendants.

34.     Plaintiffs would show that Decedent experienced terrible conscious pain and suffering

from being ejected from the vehicle, prior to his death, and incurred funeral and burial expenses

and other related expenses. These damages of Decedent survive to his estate. The injuries, death,

and damages of Plaintiffs and the Decedent were proximately caused by the negligence and gross

negligence of Defendants.

35.     Plaintiffs, here and now, seeks damages for past medical expenses, funeral and burial

expenses and other expenses, pursuant to the Texas Survival Statute TEX. CIV. PRAC. & REM.

CODE ANN. § 71.021, as a result of the untimely death of Decedent, his family, including

Plaintiffs, suffered substantial damages.

36.     Decedent, IV AN A. AMAYA, was in good health and would have, in all likelihood,

lived past 70 years of age and would have earned a substantial amount of eamings, until his


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 retirement.

37.      During       his   lifetime,    Decedent      was    a   good     son    to   his   family.   He   was

energetic and performed numerous tasks around the family residence and in all reasonable

probability would have continued to do so.

38.     As a result of the Decedent's untimely death, his tamily has suffered pecuniary losses of

care, maintenance, support, services, advise, counsel, and contribution of a pecuniary value that

they would have, in all reasonable probability, received from their husband/father during their

respective lifetimes, had he lived.

39.     Plaintiffs additionally seeks damages for Joss of inheritance, which the Decedent would

have added to the community estate and left at his death, to his family, including Plaintiff.

40.     Plaintiffs have further suffered additional losses by virtue of the destruction ofthe father-

child relationship, including the right to love, affection, solace, comfort, companionship, society,

emotional support, and happiness.

41 .    Plaintiffs have suffered severe mental depression, anguish, gtief, and sorrow as a result of

the Decedent' s death and are likely to so suffer for a long time into the future.

42.     Plaintiffs have damages in an amount greatly in excess of the maximum jurisdiction of

the Court. For the loss and damages, Plaintiffs seek damages as provided by the Texas

Wrongful Death statute codified at Civ. Prac. & Rem. Code§ 71.001, et. seq., and Survival

Statue of the Tex. Civ. Prac. & Rem. Code§ 71.021, Plaintiffs GLORIA MACHADO AS

NEXT FRIEND OF ANTHONY T. MACHADO AND MANLIO AMAYA,

INDIVIDUALLY, and AS PERSONAL REPRESENTATIVE OF THE ESTATE OF IVAN



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 A. AMAYA, DECEASED. TI1is action is being brought for the benefit of all beneficiaries. No

 administration is pending and none is necessary. Further, no administration is desired by those

interested in the estate ... and the heirs are in possession of the Decedent's property. An estate

administration is unnecessary because the estate of IVAN A. AMAYA has fewer than two debts

and no demand for any debt has been made. Plaintiffs would show that they have suffered

extreme mental anguish as a direct result of the injuries which Decedent received in this incident,

and the Plaintiffs wi1llikely continue to do suffer extreme mental anguish in the future.

Therefore, Plaintiffs seeks damages for both past and future mental anguish.

                                        XVI.
                       INJURIES- PRESENT AND FUTURE MEDICAL

43 .    As a result of the conduct, set out above, of Defendants, Plaintiff, Anthony T. Machado

suffered serious injuries to various parts of his body including his head, neck, back and body

generally. Plaintiff also sustained a brain injury.

44.     As a result of the injuries Anthony T. Machado sustained, Plaintiff incurred reasonable and

necessary doctor's and medical expenses for his necessary medical care and attention that Anthony

T. Machado required in the sums exceeding $100,000.00. There is also a probability Plaintiff will

incur additional reasonable expenses for necessary medical care and attention.

45.     In addition, Plaintiff, Anthony T. Machado, suffered severe physical and mental pain,

suffering and anguish and in all reasonable probability, will continue to suffer in this manner for

long time into the future, if not for the balance of his life.

46.     Further, Plaintiff, Anthony T. Machado, has suffered disfigurement in the past and in all

reasonable probability, will continue to suffer disfil:,'llrement in this manner for long time into the

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 future, if not for the balance of his life.

47.      As a proximate result of the negligence of Defendants, Plaintiff: Luis Rodriguez, suffered

injuries to his body in general. Plaintiff, Anthony T. Machado's diminished ability to administer

to his own needs and the needs of his family has been seriously impaired. In all probability, his

ability to attend to customary household duties and occupations will continue to be so impaired far

into the future, if not for the balance of his naturalli fe.

48.      By reason of the foregoing injuries and damages, Plaintiff, Anthony T. Machado, sustained

damages far in excess of the minimum jurisdictional limits of the Court.

                                           XVII.
                                  REQUEST FOR DISCLOSURES

49.     The Plaintiffs request that the Defendants disclose the infonnation and material described

in TEX. R. CIV. P. 194.2 (a)- (1).

                                           XVIII.
                                NOTICE OF USE OF DOCUMENTS

50.     Plaintiffs, pursuant to Texas Rules of Civil Procedure 166a(d) and 193 .7, hereby give

notice to Defendants that they intend to use all discovery products, responses, and documents

exchanged and produced between the parties as summary judgment evidence, in any pretrial

proceeding, and/or at trial in this cause.

                                                  XIX.
                                                PRAYER

51.     WHEREFORE, Plaintiffs respectfully request that the Defendants be cited to appear and

answer, and that, on final trial, Plaintiffs be awarded judgment against Defendants for the

following:


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         A.     A sum in the total amount of Five Million ($5,000,000.00) Dollars from
                 Defendants, jointly and severally, for Plaintiffs' respective actual damages for past
                and future pain and suffering, mental and emotional anguish, medical and other
                expenses, loss of enjoyment of life, loss of household services, loss of support and
                services, physical and mental impainnent, disfigurement, mental and physical
                disability, depression, lost wages, wage impairment, and lost earning capacity; for
                decedent's actual damages prior to death; for decedent's wrongful death; for
                Plaintiffs' individual past and future physical pain and suffering, mental anguish,
                physical and mental impairment, the funeral and burial expenses they have
                incurred, lost wages, wage impainnent, lost earning capacity, loss of comfort and
                compassion, loss of economic support, and other actual damages; In addition
                thereto, the sum of $1 ,000,000.00 for Plaintiff Ivan A. Amaya's actual damages
                as set out above.
        B.      A sum for exemplary/punitive damages from each Defendant in the amount of
                $1,000,000.00 due to each Defendant's gross negligence.
        C.      Pre-Judgment interest on all damages awarded at the highest legal rate;
        D.      Costs of Court;
        E.      Post-Judgment interest on all sums awarded herein at the highest legal rate until
                paid;
                and
        F.      Such other and further relief to which Plaintiffs may be justly entitled at law or in
                equity, specific or general.

                                               Respectfully Submitted,




                                                  Paul Hornung
                                                 State Bar No. 00795831
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                                        ATTORNEYS FOR PLAINTIFFS



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